              Case 1:23-cr-00118-AT             Document 508-1          Filed 03/24/25        Page 1 of 16



                                                                                          喜和 <baoliao2019@gmail.com>



Request Attorney Gail to take immediate legal action against Himalaya funds
喜和 <baoliao2019@gmail.com>                                                                                 3⽉1⽇ 周六 05:05
收件⼈：himalaya.restoration@formerfedsgroup.com <himalaya.restoration@formerfedsgroup.com>

 Dear Attorney Gail, I am your client and your trustee. At the end of 2023, I signed an agreement with the law firm to
 entrust you to act as my agent to redeem the funds of Himalaya Exchange that were frozen by the Ministry of
 Justice. My HID: AV84EIY

 The link of the agreement I signed with you is https://himalayarestoration.com/?utm_medium=email&_hsenc=
 p2ANqtz--rhzUXYrshGQkBK8W009gLZ8nWDoBBVafh8ZBQYfErZzsa_d354TFFP2HKP2t3BekDmuvpYkotxQz
 Xgb6N5PukctcG0Q&_hsmi=73649788&utm_content=73649788&utm_source=hs_email

 According to this link and the motion you sent to the court, you represented thousands of clients like me to redeem
 the funds of Himalaya Exchange frozen by the Department of Justice. And the contract or court motion clearly
 states that we are not victims of Guo Wengui, we are victims of the Ministry of Justice!

 Now, the prosecutors have initiated a request for the court to implement the relief procedure. My understanding is
 that the prosecutors want to quickly compensate the victims of the criminal case with the funds involved in my case!
 As my client, you have the obligation to protect my funds from being taken away by the Ministry of Justice to
 compensate the victims of the criminal case! I ask you to take legal action immediately and go to court to file a
 motion to oppose the prosecutors from taking the funds that belong to me!

 Please take legal action immediately after Lawyer Gail sees my letter and reply to me, thank you.

 If Lawyer Gail does not take legal action immediately to prevent the Ministry of Justice from quickly returning the
 funds involved in my case to the victims of the criminal case, I reserve the right to file a civil lawsuit and criminal
 report against you and the law firm!


 尊敬的盖尔律师，我是你的客户，你的委托⼈，我在2023年的年底与律所签署的委托你代理我赎回喜⻢拉雅交易所被司法
 部冻结的资⾦的协议。我的HID：AV84EIY

 我和你签署协议的链接https://himalayarestoration.com/?utm_medium=email&_hsenc=p2ANqtz--
 rhzUXYrshGQkBK8W009gLZ8nWDoBBVafh8ZBQYfErZzsa_d354TFFP2HKP2t3BekDmuvpYkotxQz
 Xgb6N5PukctcG0Q&_hsmi=73649788&utm_content=73649788&utm_source=hs_email

 根据这个链接和你发给法庭的动议，你代理了数千个像我⼀样的客户来赎回被司法部冻结的喜⻢拉雅交易所的资⾦。并且
 合同或法庭动议⾥⾯明确表明，我们不是郭⽂贵的受害者，我们是司法部的受害者!

 现在，检⽅发动要求法庭执⾏减免程序，我的理解就是检⽅要快速把涉及我的资⾦快速赔偿给刑事案件的受害者!你作为我
 的被委托⼈，你有义务保护我的资⾦不被司法部拿⾛去赔偿给刑事案件的受害者!我要求你⽴刻采取法律⾏动，去法庭发动
 议反对检⽅拿⾛涉及属于我的资⾦!

 请盖尔律师看到我的信以后⽴刻采取法律⾏动并且给我回复,谢谢。

 如果盖尔律师不⽴刻采取法律⾏动去阻⽌司法部把涉及我的资⾦快速返还给那个刑事案件的受害者，我保留对你和律师事
 务所提起⺠事诉讼和刑事举报的权利!
               Case 1:23-cr-00118-AT             Document 508-1            Filed 03/24/25        Page 2 of 16



                                                                                             喜和 <baoliao2019@gmail.com>



Request Attorney Gail to take immediate legal action against Himalaya funds
Brad Geyer <brad@formerfedsgroup.com>                                                                          3⽉1⽇ 周六 05:28
收件⼈："喜和" <baoliao2019@gmail.com>

 We are working on it.




   Bradford L. Geyer FormerFedsGroup.Com
                                Mobile: (856) 607-5708
                                Email: Brad@FormerFedsGroup.com

                                USA:
                                141 I Route 130 South, Suite 303
                                Cinnaminson, NJ 08077 888-486-FEDS


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 ---- On Fri, 28 Feb 2025 16:05:29 -0500 baoliao2019@gmail.com<baoliao2019@gmail.com> wrote
 ----
 [引⽤⽂字已隐藏]
              Case 1:23-cr-00118-AT           Document 508-1          Filed 03/24/25       Page 3 of 16



                                                                                       喜和 <baoliao2019@gmail.com>



Request Attorney Gail to take immediate legal action against Himalaya funds
喜和 <baoliao2019@gmail.com>                                                                             3⽉4⽇ 周⼆ 22:02
收件⼈：Brad Geyer <brad@formerfedsgroup.com>

 agreement notice!!!




 我的HID:AV84EIY
 尊敬的盖尔律师，我在2023年年底签署了喜⻢拉雅交易所的代理协议!在此，我明确告知你，那个协议我完全是在被欺骗被
 误导的情况下签署的!这种欺骗误导是⾮常严重的!正如你们协议包括动议⾥⾯提到的，签署代理协议的⼈⼤多数都是中国
 ⼈，甚⾄很多⼈居住在中国⼤陆地区，这些⼈也包括我，没有法律⽅⾯的专业知识，也⼏乎不懂英语，完全是出于对第三
 ⽅的信任⽽签署的协议!

 在此我明确通知你和律所，我们之间的协议有巨⼤的问题，有⾮常严重的欺骗和误导!你们律所最好的选择就是公开彻底撤
 销作废这个协议，并且你们应该去法庭撤销你们发起的所有动议!

 另外，我严厉警告你和律所!如果你把这个协议使⽤去作为司法部诉郭案的受害者，我⼀定会对你和律所发起刑事指控!协议
 ⾥⾯包括动议⾥⾯，你们清清楚楚地表明，我们这⼏千⼈不是郭⽂贵的受害者，我们是司法部的受害者!但是，你们的协议
 还有⼀个条款，⼤概意思就是授权你们采取任何其他法律⾏动，这种授权，完全就是流氓协议!我也是看到别⼈分析这个条
 款，最近⼀个星期才知道这个条款。

 签署这个协议的⼤多数⼈包括我⾃⼰，我们是郭⽂贵的⽀持者，我们明确警告你，不要⽤这个协议去做任何可能伤害郭⽂
 贵的⾏动!并且我要求你们律所，公开并且到法庭发动议说明协议彻底作废!




 My HID:AV84EIY
 Dear Attorney Gail, I signed the agency agreement of Himalaya Exchange at the end of 2023! Here, I clearly inform
 you that I signed that agreement completely under the condition of being deceived and misled! This deception and
 misleading is very serious! As mentioned in your agreement and motion, most of the people who signed the agency
 agreement are Chinese, and even many of them live in mainland China, including me. These people have no legal
 expertise and hardly understand English. The agreement was signed completely out of trust in the third party!

 Here I clearly inform you and the law firm that there are huge problems in the agreement between us, and there are
 very serious deceptions and misleadings. !The best option for your law firm is to publicly and completely revoke this
 agreement, and you should go to court to revoke all the motions you have initiated!

 In addition, I sternly warn you and your law firm! If you use this agreement as a victim in the case of the Ministry of
 Justice against Guo, I will definitely file criminal charges against you and your law firm! In the agreement and in the
 motion, you clearly stated that we, the thousands of people, are not victims of Guo Wengui, we are victims of the
 Ministry of Justice! However, your agreement also has a clause, which roughly means authorizing you to take any
 other legal action. This authorization is completely a rogue agreement! I also saw others analyze this clause and only
 learned about it in the past week.

 Most of the people who signed this agreement, including myself, are supporters of Guo Wengui. We clearly warn you
 not to use this agreement to do anything that may harm Guo Wengui! And I ask your law firm to publicly and file a
 motion in court to explain that the agreement is completely invalid!
 [引⽤⽂字已隐藏]
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                                                                                             喜和 <baoliao2019@gmail.com>



Request Attorney Gail to take immediate legal action against Himalaya funds
Brad Geyer <brad@formerfedsgroup.com>                                                                         3⽉4⽇ 周⼆ 23:34
收件⼈："喜和" <baoliao2019@gmail.com>

 OK. We agree to sever our relationship with you and will not represent you in this new post
 conviction forfeiture phase.

 Our calculation of when claims must be filed is April 6, 2025. You must file a claim on your own by
 that time or else you lose your money.

 VKR/Brad




   Bradford L. Geyer FormerFedsGroup.Com
                                Mobile: (856) 607-5708
                                Email: Brad@FormerFedsGroup.com

                                USA:
                                141 I Route 130 South, Suite 303
                                Cinnaminson, NJ 08077 888-486-FEDS


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 ---- On Tue, 04 Mar 2025 09:02:44 -0500 喜和<baoliao2019@gmail.com> wrote ----
 [引⽤⽂字已隐藏]
              Case 1:23-cr-00118-AT             Document 508-1          Filed 03/24/25        Page 5 of 16



                                                                                          喜和 <baoliao2019@gmail.com>



Request Attorney Gail to take immediate legal action against Himalaya funds
喜和 <baoliao2019@gmail.com>                                                                                3⽉5⽇ 周三 23:02
收件⼈：Brad Geyer <brad@formerfedsgroup.com>

 尊敬的盖特律师，⾮常感谢你对我发送给你的邮件做了回复。

 但是，还有⼀些分歧或者问题，我必须要做进⼀步的说明。

 ⾸先，关于分歧，或者叫做你我之间不⼀样的看法或观点。我的原本的意思是彻底取消协议，并且你不能最终收取我的百
 分之⼀的服务费。你没有对这⼀条款做任何解读。根据你之前的协议，即使解除协议，我仍然还需要向你⽀付百分之⼀的
 服务费。我对必须⽀付的百分之⼀的服务费不认可！还有就是，我希望你公开地和我解除协议，并且去撤销之前你在法庭
 的动议。因为这个动议，我承受了巨⼤的⼼理压⼒，精神上也遭受了⾮常严重的损害。很显然，你没有同意我的建议。如
 果你继续对法庭发起动议或者通知，我希望你能够把我与你解除协议的过程写在法庭⽂件⾥⾯，原因就是涉嫌第三⽅的误
 导和欺骗，你要如实陈述我与你解除协议的原因，并且把我的HID显示在法庭⽂件⾥⾯，⽤来减弱因为喜⻢拉雅交易所的动
 议带给我的负⾯影响。我和你之间的分歧，我们有时间慢慢解决或者达成⼀致意⻅。如果最后不能达成⼀致意⻅，我仍然
 会保留对你和律所发起⺠事诉讼，去⾏业部⻔投诉你，甚⾄对你和律所进⾏刑事指控的权利。

 还有就是关于你必履⾏的义务。你是在美国时间的3⽉4⽇与我解除的协议。但是，在3⽉4⽇之前，如果你使⽤这个数千⼈
 的协议进⾏了任何关于司法部诉郭案的⾏动，你必须如实告知我。我能够看到的最近的法庭⽂件是司法部诉郭案第478号
 法庭⽂件，这个⽂件的⽇期是2024年11⽉25⽇。在2024年11⽉25⽇到2025年3⽉4⽇之间，如果你使⽤这⼏千⼈的协议进
 ⾏过任何与司法部诉郭案相关的任何⾏动，请你如实告知我。如果你对你使⽤这数千⼈的协议进⾏的⾏动对我有所隐瞒，
 在将来，我仍然保留对你和律所进⾏巨额⾦钱⺠事诉讼，相关政府监管部⻔举报，甚⾄对你和律所进⾏刑事指控的权利。

 ⾮常感谢能够阅读我的邮件。我会⽤⾕翻译把中⽂翻译成英⽂发送给你。如果英⽂翻译有不准确的地⽅，请你最终参考中
 ⽂内容。




 Dear Attorney Greyer, thank you very much for responding to the email I sent you.

 However, there are still some differences or issues that I must further explain.

 First, about the differences, or the different views or opinions between you and me. My original meaning was to
 completely cancel the agreement, and you cannot charge me 1% service fee in the end. You did not interpret this
 clause in any way. According to your previous agreement, even if the agreement is terminated, I still need to pay you
 1% service fee. I do not agree with the 1% service fee that must be paid! In addition, I hope you will publicly
 terminate the agreement with me and withdraw your previous motion in court. Because of this motion, I have been
 under great psychological pressure and suffered very serious mental damage. Obviously, you did not agree with my
 suggestion. If you continue to initiate a motion or notice to the court, I hope you can write the process of my
 termination of the agreement with you in the court documents, because it is suspected of misleading and deceiving
 a third party. You must truthfully state the reasons for my termination of the agreement with you, and display my HID
 in the court documents to reduce the negative impact of the motion of Himalaya Exchange on me. We have time to
 slowly resolve or reach a consensus on the differences between you and me. If we cannot reach an agreement in the
 end, I will still reserve the right to initiate civil lawsuits against you and the law firm, complain to the industry
 department about you, and even bring criminal charges against you and the law firm.

 There is also the obligation you must fulfill. You terminated the agreement with me on March 4, US time. However,
 before March 4, if you used this agreement of thousands of people to take any action related to the Ministry of
 Justice v. Guo case, you must tell me the truth. The most recent court document I can see is Court Document No.
 478 of the Ministry of Justice v. Guo case, which is dated November 25, 2024. Between November 25, 2024 and
 March 4, 2025, if you used this agreement of thousands of people to take any action related to the Ministry of
 Justice v. Guo case, please tell me the truth. If you conceal from me the actions you took using this agreement of
 thousands of people, in the future, I still reserve the right to file a huge civil lawsuit against you and the law firm,
 report to the relevant government regulatory authorities, and even bring criminal charges against you and the law
 firm.
             Case 1:23-cr-00118-AT          Document 508-1         Filed 03/24/25       Page 6 of 16


Thank you very much for reading my email. I will use Google Translate to translate the Chinese into English and send
it to you. If there are any inaccuracies in the English translation, please refer to the Chinese content in the end.
[引⽤⽂字已隐藏]
               Case 1:23-cr-00118-AT             Document 508-1            Filed 03/24/25        Page 7 of 16



                                                                                             喜和 <baoliao2019@gmail.com>



Request Attorney Gail to take immediate legal action against Himalaya funds
Brad Geyer <brad@formerfedsgroup.com>                                                                          3⽉6⽇ 周四 02:01
收件⼈："喜和" <baoliao2019@gmail.com>

 No worries. We no longer represent you. Good luck. VKR/Brad


   Bradford L. Geyer FormerFedsGroup.Com
                                Mobile: (856) 607-5708
                                Email: Brad@FormerFedsGroup.com

                                USA:
                                141 I Route 130 South, Suite 303
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 [引⽤⽂字已隐藏]
              Case 1:23-cr-00118-AT          Document 508-1   Filed 03/24/25     Page 8 of 16



                                                                               喜和 <baoliao2019@gmail.com>



Request Attorney Gail to take immediate legal action against Himalaya funds
喜和 <baoliao2019@gmail.com>                                                                3⽉6⽇ 周四 05:26
收件⼈：Brad Geyer <brad@formerfedsgroup.com>

 Sir, you didnt answer my request or questions
 [引⽤⽂字已隐藏]
               Case 1:23-cr-00118-AT             Document 508-1            Filed 03/24/25        Page 9 of 16



                                                                                             喜和 <baoliao2019@gmail.com>



Request Attorney Gail to take immediate legal action against Himalaya funds
Brad Geyer <brad@formerfedsgroup.com>                                                                          3⽉6⽇ 周四 08:21
收件⼈："喜和" <baoliao2019@gmail.com>

 No, no action has been taken. Nor will it be on your behalf. Since you are no longer represneted
 by us we can't give you legal advice but rest assured, if we do take action, we will not include you
 as being among our clients. If we do make a filing, we will do so only after removing your HID#
 from our list of clients. So you should not worry.
 Very Kind Regards, Brad.

   Bradford L. Geyer FormerFedsGroup.Com
                                Mobile: (856) 607-5708
                                Email: Brad@FormerFedsGroup.com

                                USA:
                                141 I Route 130 South, Suite 303
                                Cinnaminson, NJ 08077 888-486-FEDS


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             Case 1:23-cr-00118-AT           Document 508-1          Filed 03/24/25       Page 10 of 16



                                                                                       喜和 <baoliao2019@gmail.com>



Request Attorney Gail to take immediate legal action against Himalaya funds
喜和 <baoliao2019@gmail.com>                                                                              3⽉7⽇ 周五 12:30
收件⼈：Brad Geyer <brad@formerfedsgroup.com>

 尊敬的GREYER律师，感谢你回复我的邮件。

 对于你必须履⾏的义务，感谢你告知我，⽤我的理解就是，截⽌你和我终⽌协议之前，你没有采取任何我能够在法庭⽂件
 看到的⽂件之外的法律⾏动，⾮常感谢你对此的回复。

 另外，我们之间还有⼀些分歧，这些分歧不⼀定能够解决，但是，我仍然希望你能够给出明确回复，谢谢。

 关于百分之⼀的服务费，在之前的协议⾥⾯有⼀个条款，⽆论你还是我提出终⽌协议，百分之⼀的服务费在资⾦赎回之后
 仍需⽀付。我不认可这⼀条。原因是我之前与你签署的协议有第三⽅或者多⽅欺骗和误导了我！希望你能够回复关于服务
 费的分歧。

 还有就是喜⻢拉雅交易所动议对我造成了⾮常严重的⼼理负担，并且对我的精神造成了不可估量的损伤。我希望GREYER
 律师可以采取⼀些简单的法律⾏动能够弥补我遭受的⼼理负担和精神损伤。你应该在司法部诉郭刑事案件的法庭⽂件中，
 明确提及HID：AV84EIY的客户因为代理协议涉嫌误导和欺骗⽽导致律所和客户的协议终⽌。我之所以提这样的要求，是因
 为之前的喜⻢拉雅交易所法庭动议把我包含在内，确实是对我造成了严重的⼼理负担和不可估量的精神损伤。

 如果GREYER律师能够关于这两个分歧或者叫做问题和我达成⼀致意⻅，我本⼈会放弃未来可能的对你和律所⺠事诉讼索
 赔，⾏业监管部⻔举报，甚⾄刑事指控的权利！

 能不能达成⼀致已经，希望GREYER律师给我明确回复。你可以直接拒绝我或者与我协商。

 谢谢




 Dear Attorney GREYER, thank you for replying to my email.

 Thank you for informing me of the obligations you must fulfill. As I understand it, you did not take any legal action
 other than the documents I can see in the court documents before you and I terminated the agreement. Thank you
 very much for your reply.

 In addition, there are some differences between us, which may not be resolved, but I still hope you can give a clear
 reply, thank you.

 Regarding the 1% service fee, there is a clause in the previous agreement that whether you or I propose to terminate
 the agreement, the 1% service fee must still be paid after the funds are redeemed. I do not agree with this clause.
 The reason is that the agreement I signed with you before was deceived and misled by a third party or multiple
 parties! I hope you can respond to the disagreement about the service fee.

 In addition, the motion of Himalaya Exchange has caused me a very serious psychological burden and caused
 immeasurable damage to my spirit. I hope Attorney GREYER can take some simple legal actions to make up for the
 psychological burden and mental damage I have suffered. You should clearly mention HID in the court documents of
 the Ministry of Justice v. Guo criminal case: AV84EIY's client terminated the agreement between the law firm and
 the client because the agency agreement was suspected of misleading and deceiving. The reason why I made such
 a request is that the previous Himalaya Exchange court motion included me, which really caused me a serious
 psychological burden and immeasurable mental damage.

 If lawyer GREYER can reach an agreement with me on these two differences or issues, I will personally give up the
 right to file a civil lawsuit against you and the law firm, report to the industry regulatory authorities, and even
 criminal charges in the future!
            Case 1:23-cr-00118-AT         Document 508-1         Filed 03/24/25      Page 11 of 16

Whether we can reach an agreement, I hope lawyer GREYER will give me a clear reply. You can directly refuse me or
negotiate with me.

Thank you

Brad Geyer <brad@formerfedsgroup.com> 于2025年3⽉6⽇周四 08:21写道：
[引⽤⽂字已隐藏]
              Case 1:23-cr-00118-AT             Document 508-1            Filed 03/24/25        Page 12 of 16



                                                                                             喜和 <baoliao2019@gmail.com>



Request Attorney Gail to take immediate legal action against Himalaya funds
Brad Geyer <brad@formerfedsgroup.com>                                                                         3⽉8⽇ 周六 05:44
收件⼈："喜和" <baoliao2019@gmail.com>

 We never provided your information or even referenced your name or HID# in any filings so you
 can rest your mind. I hope that puts your mind at rest.




   Bradford L. Geyer FormerFedsGroup.Com
                                Mobile: (856) 607-5708
                                Email: Brad@FormerFedsGroup.com

                                USA:
                                141 I Route 130 South, Suite 303
                                Cinnaminson, NJ 08077 888-486-FEDS


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                                                     Mission (TM)"

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 ---- On Thu, 06 Mar 2025 23:30:41 -0500 喜和 <baoliao2019@gmail.com> wrote ---
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                                                                                       喜和 <baoliao2019@gmail.com>



Request Attorney Gail to take immediate legal action against Himalaya funds
喜和 <baoliao2019@gmail.com>                                                                             3⽉9⽇ 周⽇ 06:44
收件⼈：Brad Geyer <brad@formerfedsgroup.com>


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 content below the English email.




 Dear Attorney GREYER, you did not respond to my request seriously at all.

 In the previous motion you submitted to the court, Document 185, you represented 3345 Himalaya Exchange
 customers in court. At this time, I was not included in the 3345 Himalaya Exchange customers because I had not
 signed the agency agreement at that time.

 But in the next Document 212, the number of Himalaya Exchange customers you represented became 5242. At this
 time, I was included in your agency agreement because I had signed the agency agreement at that time.

 After Document 212, I was included in your agency agreement until your motion was rejected by the judge!

 Then in Document 478, you initiated a motion again, you represented 5280 Himalaya Exchange customers, and at
 this time, I was still included in your agency agreement.

 Although you did not list the HID of each agent customer in the court documents, it is certain that you did represent
 me in court until the moment you said you terminated the agreement with me.

 However, I signed this agency agreement completely because I was deceived and misled by a third party or multiple
 parties. Then I made a request to you, asking you to publicly cancel this agency agreement in court. Obviously, you
 have not met my request so far. I am not only asking for the termination of the agreement, but I am asking you to
 publicly cancel the agreement in court and put my HID in the court documents. At the same time, you must clearly
 state in the court documents that the reason for the termination of the agreement is suspected of being misled and
 deceived by a third party or multiple parties! I made such a request because this motion has caused me a huge
 psychological burden and immeasurable mental damage!

 In addition, as far as I know, there are quite a number of people who signed the agency agreement like me and were
 completely misled and deceived by a third party or multiple parties!

 So far, you have not made any response to my most core request! You have been responding to other content.

 Here, I inform you that if you cannot immediately respond positively to my core request, I will do my best to contact
 a lawyer or directly contact the court to request the dismissal of your 478 motion!


 尊敬的GREYER律师，你根本没有认真回应我对你的请求。

 之前你给法庭的动议，⽂件185，你代表了3345喜⻢拉雅交易所客户出庭。在这个时候，我没有被包含在3345名喜⻢拉雅
 交易所客户⾥⾯，因为这个时候我还没有签署代理协议。

 但是在接下来的⽂件212，你代理的喜⻢拉雅交易所客户数量变成了5242。这个时候我就被包含在你的代理协议⾥⾯了，
 因为我在那时候已经签署了代理协议。

 在⽂件212之后，⼀直到你的动议被法官驳回，我⼀直被包含在你的代理协议⾥⾯！
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然后⽂件478，你再次发起动议，你代表着5280喜⻢拉雅交易所客户，在这个时候，我仍然被包含在你的代理协议⾥⾯。

虽然你没有在法庭⽂件⾥⾯罗列出每⼀个代理客户的HID,但是确定的是，直到你说和我解除协议的那⼀刻之前，你在法庭
上确实代表着我。

但是，我签署了这个代理协议，完全是被第三⽅或者多⽅的欺骗和误导，然后我对你提出要求，要求你要在法庭上公开作
废这个代理协议。很显然，到⽬前为⽌，你没有满⾜我的要求。我要求的不仅仅是解除协议，我要求的是你要在法庭公开
作废协议，并且把我的HID出现在法庭⽂件⾥⾯，同时你要在法庭⽂件⾥⾯明确说明解除协议的原因是涉嫌第三⽅或者多⽅
的误导和欺骗！我提这样的请求，是因为这个动议，给我造成了巨⼤的⼼理负担和不可估量的精神损害！

另外据我所知，像我⼀样签署代理协议完全是被第三⽅或者多⽅误导和欺骗的⼈，有相当的数量！

到⽬前，你没有对我最核⼼的请求做任何回复！你⼀直在回复其它的内容。

在此，我通知你，如果你不能⽴刻对我这个核⼼的请求做出正⾯肯定的回应，我会尽我的努⼒，去联系律师，或者直接联
系法庭，要求驳回你的⽂件478动议！

Brad Geyer <brad@formerfedsgroup.com> 于2025年3⽉8⽇周六 05:44写道：
[引⽤⽂字已隐藏]
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                                                                                   喜和 <baoliao2019@gmail.com>


Response
Brad Geyer <brad@formerfedsgroup.com>                                                          2025年3月12日 12:46
收件人："\"喜和\"" <baoliao2019@gmail.com>

 Your letter is false. The claims I filed were done to prevent from happening what is alleged to have happened.


 At this point the only reference to the court has been a good faith estimate of our clients on a certain date.
 But by the time it was filed, using an authenticated number that had already changed, it had no material
 connection to your being included or not included.


 You are correct about the Court denying our motion. But that process has been concluded now that
 convictions have been obtained. That old process is closed. We are now in a new process known as criminal
 forfeiture. You will now need to file your own claim or you will likely lose your investment. You are not on our
 current list of clients and most certainly not the final list that is submitted to the Court.

 Please provide your HID# so I can double check you are not on our list.


 VKR/Brad



   Bradford L. Geyer FormerFedsGroup.Com
                            Mobile: (856) 607-5708
                            Email: Brad@FormerFedsGroup.com

                            USA:
                            141 I Route 130 South, Suite 303
                            Cinnaminson, NJ 08077 888-486-FEDS


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 ---- On Sat, 08 Mar 2025 17:44:36 -0500 喜和 <baoliao2019@gmail.com> wrote ---


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                                                                                     喜和 <baoliao2019@gmail.com>


Response
喜和 <baoliao2019@gmail.com>                                                                        2025年3月12日 20:51
收件人：Brad Geyer <brad@formerfedsgroup.com>

 Attorney Geyer, my HID is: AV84EIY

 I signed the agreement completely, 100% under the condition of being misled and deceived! And I know that
 many people also signed the agreement under the condition of being misled and deceived. Therefore, your
 agreement has no legal effect! I will definitely file a motion to the court to dismiss your request or motion or
 notice!

 Geyer律师，我的HID：AV84EIY

 我完全，百分之百是在被误导和欺骗的情况下才签署的协议！并且我知道，非常多的人也完全是在被误导和欺骗的情况
 下签署的协议。所以，你这个协议，没有任何法律效力！我一定会给法庭发动议，要求驳回你的请求或者动议或者通
 知！

 Brad Geyer <brad@formerfedsgroup.com> 于2025年3月12日周三 12:46写道：
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